16 F.3d 412NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff and Appellee,v.William Steven DAVIS, Defendant Appellant.
    No. 93-6806.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 20, 1994.Decided Feb. 4, 1994.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Frank W. Bullock, Jr., Chief District Judge.  (CR-89-286, CA-92-436-2).
      William Steven Davis, appellant pro se.
      Lisa Blue Boggs, Asst. U.S. Atty., Greensboro, NC, for appellee.
      M.D.N.C.
      AFFIRMED.
      Before WIDENER, WILKINS and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his Motion for Reconsideration under Fed.R.Civ.P. 60(b).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Davis, Nos.  CR-89-286;  CA-92-436-2 (M.D.N.C. June 17, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    